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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

PEERLESS INDUSTRIES, INC.,

Plaintiff,
Case No. 1:11-cv-1768

Honorable Joan H. Lefkow

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)
)
VS. )
)
CRIMSON AV, LLC, )

)

)

Defendant.

)
FINAL AGREED JUDGMENT OF PATENT INFRINGEMENT

IT IS HEREBY ORDERED that the terms of the parties’ Stipulation of
Final Judgment are approved and adopted by the Court.

Judgment is hereby entered in favor of Plaintiff Peerless Industries, Inc.
(“Peerless”) and against Defendant Crimson AV, LLC (“Crimson”) in the amount
of $40,000, inclusive of costs, for infringement of U.S. Patent No. 7,823,850

(the “Patent Claim”).

Date: APR 25 2018 neti Gb bie, s—
7 v

Honorable Joan H. Lefkow

 

 
